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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

REX ALLEN FREDERICKSON,

                   Plaintiff,

       v.

DETECTIVE TIZOC LANDEROS,                Case No. 11 CV 3484
DETECTIVE SCARPETTA, OTHER
UNIDENTIFIED OFFICERS OF THE             Judge Thomas M. Durkin
JOLIET POLICE DEPARTMENT,
DETECTIVE BRICK, DETECTIVE
TALBOT, AND OTHER UNIDENTIFIED
OFFICERS OF THE BOLINGBROOK
POLICE DEPARTMENT,

                   Defendants.




    PLAINTIFF’S 56.1 STATEMENT OF ADDITIONAL MATERIAL FACTS IN
OPPOSITION TO (I) DEFENDANTS DETECTIVE BRICK, DETECTIVE TALBOT AND
   THE VILLAGE OF BOLINGBROOK’S AMENDED MOTION FOR SUMMARY
 JUDGMENT ON ALL COUNTS OF THE THIRD AMENDED COMPLAINT AND (II)
        JOLIET DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT



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February 8, 2017
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                     Exhibits to this Statement of Additional Material Facts

Attached hereto are the following exhibits: *

    A. Deposition of David Brown (July 6, 2016)

    B. Deposition of Pamela Dunning-Ganczewski (May 19, 2016)

    C. Deposition of Michael Musgrove (Nov. 17, 2016)

    D. Deposition of Paul Rodriguez (Mar. 9, 2016)

    E. Deposition of James Scacco (May 31, 2016)

    F. Docket of People v. Frederickson, No. 01 CF 890 (Ill. Cir. Ct. – Will Cty. (12th Cir.))
       [RF00001448]

    G. Docket of People v. Frederickson, No. 08 CF 1134 (Ill. Cir. Ct. – Will Cty. (12th Cir.))
       [RF00001474]

    H. James Scarpetta’s Report regarding Complaint from Rex Frederickson (Feb. 7, 2011)

    I. Rex Frederickson’s J&J Autobody Application (Feb. 8, 2011)

    J. Email from C. Gunty to all-police (Feb. 11, 2011) [VOB.1771]

    K. Affidavit of Rex Frederickson (Feb. 22, 2011) [VOB.0004]

    L. Affidavit of Jonathan Walsh (Feb. 22, 2011) [VOB.0003]

    M. Affidavit of David Brown (Feb. 24, 2011) [VOB.0006]

    N. Joliet Compliant Receipt Form (Mar. 3, 2011)

    O. Memorandum to File from Ken Teppel (June 12, 2015) [VOB.0266]

    P. Expert Report of Michael Musgrove (Aug. 15, 2016)




*
         In order to avoid duplication, Frederickson has not attached as exhibits documents that have
already been made exhibits by the Bolingbrook Defendants or the Joliet Defendants. As an appendix to
this Statement of Additional Material Facts, Frederickson provides a legend of all exhibits from all parties
as of the date of this filing.


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                                  Additional Material Facts

              1.      Due to a past criminal conviction, Frederickson has registered as a sex

offender pursuant to the Illinois Sex Offender Registration Act (“SORA”) since 2004. See Pl.’s

Ex. F, RF00001448.

              2.      During the time that Detective Moises Avila was in charge of Offender

registration for the Joliet Police Department from 2004 until 2007, Avila did not have any issues

registering Frederickson. Joliet Ex. F, M. Avila Dep. 61:15-62:5.

              3.      During this same time, Frederickson would occasionally need to update

the information on his registration form because the information the registration form called for

had changed (e.g., change in employment).       Avila never refused to update Frederickson’s

registration form when the information that the registration form called for had changed. Id. at

28:10-15, 63:6-17.

            Landeros Takes Over Registration For The Joliet Police Department

              4.      Detective Tizoc Landeros replaced Avila as the detective in charge of

Offender registration at the Joliet Police Department in 2007 and began harassing Frederickson

almost immediately. Pl.’s Ex. A, D. Brown Dep. 95:7-12. Landeros stated that he has to “deal

with [Frederickson] constantly” because he was “always questioning” his registration

requirements. Joliet Ex. A, T. Landeros Dep. 135:16-136:13.

              5.      Beginning in 2008, Frederickson began requesting that Landeros update

his registration form to reflect the correct name of his employer: Greg’s Body Shop, not, as it

had been inaccurately input, Greg’s Auto Body. Bolingbrook Ex. A, R. Frederickson Dep.

45:16-18. Frederickson also asked that the registration form reflect that he was employed as a

contractor. Joliet Ex. A, T. Landeros Dep. 169:18-175:15.




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                6.     Landeros was aware that having inaccurate information on one’s

registration form is a violation of SORA and subjects the Offender to arrest and prosecution. Id.

at 158:7-159:8.

                7.     Frederickson constantly feared that Landeros would arrest him for having

inaccurate information on his registration form. Bolingbrook Ex. A, R. Frederickson Dep.

286:12-287:1.

                8.     Landeros testified in 2011 at a criminal proceeding against Frederickson

that “if [Frederickson] has ever asked me to change anything on his registration form it has been

changed.” Joliet Ex. G, Trial Tr. at 24, People v. Frederickson, No. 11 CF 415 (Ill. Cir. Ct. –

Will Cnty. (12th Cir.) June 15, 2011). At his deposition, Landeros stated that he refused to

update Frederickson’s registration form. Joliet Ex. A, T. Landeros Dep. 169:14-176:9.

         Landeros’ Issues with Frederickson Result In Multiple Arrests of Frederickson

                9.     Frederickson informed Landeros in 2008 that he intended to leave Joliet.

In response, Landeros threatened Frederickson that if he ever attempted to leave Joliet, Landeros

would arrest him before Frederickson could do so. Bolingbrook Ex. A, R. Frederickson Dep.

300:18-302:4; see also Pl.’s Ex. K, Frederickson Aff. ¶ 8, February 22, 2011; Ex. L, Walsh Aff.

¶ 3-4.

                10.    Landeros arrested Frederickson on May 15, 2008 and Frederickson was

charged with failure to register and residing within 500 feet of a school. Frederickson was

acquitted of all charges on June 1, 2009 after spending over a year in prison. Pl.’s Ex. G, People

v. Frederickson, No. 08 CF 1134 (Ill. Cir. Ct. – Will Cty. (12th Cir.)).




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               11.     On November 23, 2010, Frederickson reported at the Joliet Police

Department to register. While Frederickson was standing in the Joliet Police Department lobby

waiting to register, Landeros arrested Frederickson for driving on a suspended license.

Bolingbrook Ex. A, R. Frederickson Dep. 344:19-345:2; Joliet Ex. A, T. Landeros Dep. 193:7-

194:1.

               12.     According to Landeros, he had seen Frederickson driving a week earlier,

but did not make the immediate arrest because he wanted to handle some paperwork first. Joliet

Ex. A, T. Landeros Dep. 198:16-199:4.

               13.     This instance is the only time that Landeros has ever arrested someone for

driving on a suspended license when that person was not driving. Id. at 200:16-21. Avila and

another Joliet police officer, Paul Rodriguez, stated that they had never even heard of such a

situation. Joliet Ex. F, M. Avila Dep. 121:21-122:34; Pl.’s Ex., D, P. Rodriguez Dep. 66:3-11.

     Following Repeated Arrests by Landeros, Frederickson Mobilizes to Leave Joliet

               14.     On January 26, 2011, Frederickson registered at the Joliet Police

Department but was prevented again from updating his registration form to accurately reflect that

he was working at Greg’s Body Shop and that he was working as a contractor. Bolingbrook Ex.

A, R. Frederickson Dep. 295:10-299:3.

               15.     Frederickson also informed Landeros that he would be moving to

Bolingbrook in the near future. Id. at 296:22-298:19. Landeros repeated his threat that he would

arrest Frederickson if Frederickson attempted to leave Joliet. Id. at 59:8-24.




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               16.    On February 2, 2011, Frederickson reported at the Joliet Police

Department and again attempted to update his registration form with accurate employment

information.   The Joliet police officer standing in place of Landeros refused to update

Frederickson’s registration form.     Id. at 45:12-18; see also Bolingbrook Detective Brick,

Detective Talbot, and the Village of Bolingbrook’s 56.1 Statement of Undisputed Material Facts

in Support of their Amended Motion for Summary Judgment on All Counts of the Third

Amended Complaint ¶ 33.

               17.    Because of Landeros’s repeated threats to arrest Frederickson if he moved

out of Joliet, Frederickson wrote “all rights reserved” on his February 2, 2011 registration form

in an effort to convey his continued desire to move out of Joliet in the face of Landeros’s threats

to prevent him from doing so. Bolingbrook Ex. A, R. Frederickson Dep. 59:8-24.

                Frederickson’s February 9, 2011 Registration in Bolingbrook

               18.    On February 8, 2011, Frederickson submitted a job application to J&J

Autobody, which was located in Bolingbrook and was subsequently given a “try out” at J&J

Autobody. Pl.’s Ex. E, J. Scacco Dep. 20:17-21:9; Pl.’s Ex. I, Frederickson’s J&J Autobody

Application.

               19.    Frederickson relocated to Bolingbrook between February 2 and 9, 2011

and Frederickson reported for the first time at the Bolingbrook Police Department to register on

February 9, 2011. Bolingbrook Ex. M, N. Schmidt Dep. 29:22-30:8; Pl.’s Ex. A, D. Brown Dep.

51:10-14.




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              20.     Frederickson brought his February 2 registration form with him and

Bolingbrook Police Officer Nicholas Schmidt met with Frederickson and filled out

Frederickson’s registration form without incident. Bolingbrook Ex. M, N. Schmidt Dep. 30:23-

32:7; 34:10-14.

           Joliet Refuses to Transfer Frederickson’s LEADS File to Bolingbrook

              21.     Bolingbrook Records Clerk Nicole Wlodarski contacted the Joliet Police

Department to notify it that Frederickson had registered in Bolingbrook on February 9, 2011 and

to request that the Joliet Police Department release Frederickson’s LEADS file. Bolingbrook Ex.

I, N. Wlodarski Dep. 65:17-66:1.

              22.     Although Wlodarski stated that she could not recall who she talked to at

the Joliet Police Department, a handwritten note found on her desk “around the time that …

[Frederickson] came into register” indicated that Landeros had tried to contact Wlodarski. Id. at

64:3-65:11; Pl.’s Ex. O, K. Teppel Memo to File (June 12, 2015).

              23.     The Joliet Police Department informed Wlodarski that they “knew”

Frederickson was still living in Joliet and refused to release Frederickson’s LEADS file.

Bolingbrook Ex. I, N. Wlodarski Dep. 65:17-66:1.

              24.     Landeros testified in 2011 at a criminal proceeding against Frederickson

that he “advised Bolingbrook that Rex Frederickson was a homeless sex offender employed in

Joliet, and he belonged to – his LEADS file belonged to the Joliet Police Department.” Pl.’s Ex.

G, Trial Tr. at 22, People v. Frederickson, No. 11 CF 415 (Ill. Cir. Ct. – Will Cty. (12th Cir.)

June 15, 2011).




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               25.    In his deposition, Landeros denied having any reason to believe that

Frederickson was not homeless in Bolingbrook in February 2011, Joliet Ex. A, T. Landeros Dep.

210:15-19, and denied being aware of whether Frederickson’s LEADS file was ever put into

moving status in February 2011, id. at 353:3-10. Landeros further testified that he has never

prevented an Offender’s LEADS file from being put into moving status and that he “can’t think

of” a reason to ever do so. Id. at 226:24-227:5.

               26.    Wlodarski estimated that on twenty occasions she has previously

encountered a situation where an Offender registered in Bolingbrook while his or her LEADS

file was still owned by a different jurisdiction. Bolingbrook Ex. I, N. Wlodarksi Dep. 119:19-

120:7. In every single one of those instances, the previous jurisdiction placed the Offender’s

LEADS file into moving status upon her request. Id. at 120:21-121:8.

               27.    In those instances where an Offender would report at the Bolingbrook

Police Department while his or her LEADS file was owned by the previous jurisdiction, the

Bolingbrook Police Department would start a paper file for the Offender and enter an “add-on”

into LEADS until the previous jurisdiction released the Offender’s LEADS file. Bolingbrook

Ex. F, K. Teppel. Dep. 94:4-15; see also Bolingbrook Ex. B, D. Kloepfer Dep. 27:16-2818;

Bolingbrook Ex. I, N. Wlodarski Dep. 95:14-23.

               28.    Talbot stated that he could not recall a single other instance where a police

department refused to transfer ownership of a LEADS file. Bolingbrook Ex. C, S. Talbot Dep.

28:17-22. Diane Kloepfer, who handled the transferring of LEADS file for the Bolingbrook

Police Department for “most of” 19 years, also could not recall such an instance. Bolingbrook

Ex. B, D. Kloepfer Dep. 24:11-25:15.




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              29.     Wlodarski’s inability to update Frederickson’s LEADS file rendered

Frederickson subject to arrest and investigation at any moment as Frederickson’s LEADS file

would make it appear that he was out of compliance with his SORA requirements and officers

would have to detain Frederickson pending their investigation into whether Frederickson had

properly completed his registration. Joliet Ex. A, T. Landeros Dep. 81:14-83:15.

   Landeros and Talbot Conspire to Refuse Frederickson’s Registration in Bolingbrook

              30.     At some point between February 9, 2011 and February 11, 2011, Landeros

spoke to Detective Talbot of the Bolingbrook Police Department. Id. at 207:12-208:2.

              31.     Talbot recalls that Landeros informed Talbot that Frederickson was trying

to “pull the wool over [the Bolingbrook Police Department’s] eyes,” that “he was not going to be

homeless in Bolingbrook” and that Landeros “was working on proving that he was actually

living in Joliet.” Bolingbrook Ex. C, S. Talbot Dep. 65:18-66:24.

              32.     Landeros admitted that had no reason to believe that Frederickson was not

homeless in Bolingbrook during this time. Joliet Ex. A, T. Landeros Dep. 228:23-229:5, 232:5-

16, 235:23-236:8. Landeros further stated that he doesn’t “believe he mentioned anything about

anybody trying to scam anybody.” Id. at 229:6-21.

              33.     After his conversation with Landeros, Talbot spoke with Pamela Dunning-

Ganczewski, another records clerk at the Bolingbrook Police Department.            Pl.’s Ex. B, P.

Dunning-Ganczewski Dep. 22:12-15.




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               34.    Dunning-Ganczewski then circulated an email to the Bolingbrook Police

Department Records listserv that stated “[Talbot] came in on 2/11/11 and stated that Rex

Frederickson will becoming [sic] in on 2/16/11 to do his sex offender registration again we will

not take his registration due to the fact he lives in Joliet he is not homeless.”      Another

Bolingbrook police officer, Sergeant Craig Gunty, then forwarded Dunning-Ganczewski’s email

to the entire Bolingbrook Police Department and added “JPD has alerted us to the fact that this

guy doesn’t want to pay their mandatory fee so he is going to try and scam us into doing it. Per

JPD don’t register him here please.” Pl.’s Ex. J, Email from C. Gunty to all-police (Feb. 11,

2011).

               35.    Schmidt stated that he understood this email to mean that the Bolingbrook

Police Department should not register Frederickson “no matter what.” Bolingbrook Ex. M, N.

Schmidt Dep. 46: 21-47:3. Gunty stated that he “absolutely” expected that the Bolingbrook

Police Department would comply with the request to refuse Frederickson’s registration, without

investigating Frederickson’s information or verifying the veracity of the information that

Landeros provided to Talbot. Bolingbrook Ex. J, C. Gunty Dep. 81:14-82:16. Gunty also stated

other than Frederickson he is not aware of any situation where the Bolingbrook Police

Department was instructed to refuse to register an Offender. Id. at 80:18-81:13.

                       Frederickson’s February 16, 2011 Registration

               36.    During the week between February 9, 2011 and February 16, 2011,

Frederickson worked at J&J Autobody on three or four different days and was in the process of

moving his belongings from Joliet to Bolingbrook. Bolingbrook Ex. A, R. Frederickson Dep.

88:17-89:8; Pl.’s Ex. E, J. Scacco Dep. 22:5-23:2.




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                 37.   On the morning of February 16, 2011, Frederickson was in Joliet picking

up his tool cabinet. Unsure whether he would be able to catch a ride to Bolingbrook later that

day, Frederickson registered at the Joliet Police Department on the morning of February 16,

2011. Bolingbrook Ex. A, R. Frederickson Dep. 83:3-5; 99:20-23.

                 38.   In the afternoon of February 16, 2011, Frederickson was able to catch a

ride to Bolingbrook. As Frederickson intended to work at J&J Autobody in the upcoming week,

Frederickson reported to the Bolingbrook Police Department to register that afternoon. Id. at

84:23-85:4.

                 39.   Brick knew that if an Offender failed to register in accordance with his or

her SORA requirements, that Offender would be subject to arrest and incarceration.

Bolingbrook Ex. K, J. Brick Dep. 33:20-34:5. Before meeting Frederickson on February 16,

2011, Brick spoke with the Bolingbrook Records Department about the department email about

Frederickson (see supra, ¶¶ 33-34) and concluded that he could not register Frederickson

because the Joliet Police Department had information that Frederickson was living in Joliet. Id.

at 43:1-47:23.

                 40.   Brick then told Frederickson that Bolingbrook had a “conflict” and that he

“would not be able to register [Frederickson] right now.” Id. at 47:15-23. Brick did not provide

Frederickson with any reason why Bolingbrook was unable to register him, but instead ordered

Frederickson to return to Joliet. Id. at 47:24-49:23.

                 41.   The Bolingbrook Police Department, through its corporate representative,

admitted that Frederickson is the only person whom Bolingbrook has ever refused to register.

Bolingbrook Ex. F, K. Teppel Dep. 10:10-10:17.




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               42.    Avila, who was in charge of the Joliet Police Department’s sex offender

registration unit for over three years, could not think of a reason why he would refuse to register

an Offender and could not recall any instance where he refused to update an Offender’s

registration form. Joliet Ex. F, M. Avila Dep. 48:1-16.

                        Frederickson’s February 23, 2011 Registration

               43.    Between February 16, 2011 and February 23, 2011, Frederickson stayed in

the cab of a David Brown’s truck, which was parked in Bolingbrook, and worked three days at

J&J Autobody. Bolingbrook Ex. A, R. Frederickson Dep. 102:23-103:6; 103:20-104:4; Pl.’s Ex.

A, D. Brown Dep. 54:5-11.

               44.    On February 23, 2011, Frederickson reported in Bolingbrook for the third

time to register. This time, Frederickson was met by Talbot and Brick. Bolingbrook Ex. K, J.

Brick Dep. 57:11-58:13. Brick and Talbot conditioned Frederickson’s registration on whether

Frederickson would provide locations where he planned on staying. Bolingbrook Ex. C, S.

Talbot Dep. 91:20-93:11.

               45.    There is nothing in the Bolingbrook Police Department’s written polices

about Offender registration that allows officers to refuse to register an Offender because that

Homeless Offender would not indicate particular places he or she will be sleeping in the future.

Bolingbrook Ex. K, J. Brick Dep. 87:18-88:10.

               46.    Frederickson did not provide such information and the Bolingbrook

Defendants refused to register Frederickson on February 23, 2011 and ordered him to return to

Joliet. Id. at 59:2-10; Bolingbrook Ex. C, S. Talbot Dep. 83:19-85:4.

               47.    Frederickson then proceeded to the Bolingbrook Village Hall to file a

complaint against Talbot and Brick. Pl.’s Ex. M, Brown Aff. ¶ 5, Feb. 23, 2011.




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                 48.   While Frederickson was filling out the appropriate forms, the Bolingbrook

village clerk received a phone call instructing her to refuse to help Frederickson with his

complaint. Id.

                 49.   Shortly there afterwards, a group of Bolingbrook police officers entered

the Bolingbrook Village Hall and escorted Frederickson out of the premises, thereby preventing

Frederickson from filing his grievance against Talbot and Brick. Id. at ¶ 6.

 Frederickson’s Registration Attempts on February 28, March 1, March 2, and March 3,
                                         2011

                 50.   Sometime after February 23, 2011, Frederickson informed J&J Autobody

that he would not be able to continue working there until he could sort out his registration.

Bolingbrook Ex. A, R. Frederickson Dep. 95:15-23; Pl.’s Ex. E, J. Scacco Dep. 14:4-12.

                 51.   On February 28, 2011, Frederickson reported at the Joliet Police

Department to register. Bolingbrook Ex. A, R. Frederickson Dep. 321:18-322:18. Frederickson

met with Joliet Police Sergeant James Scarpetta, but Scarpetta refused to take Frederickson’s

registration. Id. at 323:21-324:7.

                 52.   Frederickson reported at the Joliet Police Department each day on March

1, 2, and 3, 2011 in order to register. Id. at 322:24:-323:6. And each time, Frederickson’s efforts

were refused. Id. at 325:1-9 (March 1), 326:7-328:2 (March 2), 328:4-328:23 (March 3).

                         Frederickson’s Grievances Against Landeros

                 53.   On February 7, 2011, Frederickson contacted the Joliet Police Department

to file a grievance against Landeros complaining that Landeros was refusing to update

Frederickson’s SORA form and unlawfully restraining Frederickson. Joliet Ex. E, J. Scarpetta

Dep. 64:21-65:23.




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                54.   Scarpetta received Frederickson’s grievance and it was his job to

determine whether the conduct complained of constituted either a violation of the law or of Joliet

Police Department policy. Id. at 103:16-19.

                55.   In response to Frederickson’s grievance, Scarpetta spoke to two

supervisors within the Joliet Police Department about Frederickson, reviewed the Joliet Police

Department policy on Offender registration, and reviewed the SORA statute, but never once

spoke to Landeros about the allegations in Frederickson’s grievance. Id. at 69:9-18, 116:16-19.

                56.   Scarpetta made the determination that Frederickson’s grievance did not

require any further investigation, without ever learning if refusing to update a registration form

violated Joliet Police Department policy or the law or that Landeros had arrested Frederickson on

two previous occasions. Id. at 61:7-62:1; 91:1-20.

                57.   On March 3, 2011, prior to his arrest, Frederickson dropped off a 24 page

complaint against Landeros. The complaint included a sworn affidavit. Pl.’s Ex. N, Joliet

Complaint Receipt Form, Mar. 3, 2011; see also Joliet Ex. E, J. Scarpetta Dep. 140:10-141:2.

                58.   Scarpetta received a complaint from another Offender, John Smith, about

Landeros in September 2012 complaining that Landeros falsely arrested him. Joliet Ex. E, J.

Scarpetta Dep. 125:21-126:12, 129:6-8.

                59.   In investigating Smith’s complaint, Scarpetta obtained “incident reports”

related to Smith; obtained state police offender information on Smith; called the Illinois Sex

Offender Information Hotline; called Smith to update him on the investigation; sent Smith a

“disposition letter”; and interviewed Landeros about the allegations in Smith’s complaint. Id. at

131:13-133:2.




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              60.     Scarpetta did not undertake any of these actions in investigating

Frederickson’s complaint. Id. at 69:9-18. Scarpetta explained one reason that he responded

differently to Smith’s complaint about Landeros was because “Mr. Smith’s complaint [had] a

sworn affidavit.” Id. at 138:14-139:6.




                                                Respectfully submitted,


                                                /s/ Mary Rose Alexander
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  APPENDIX: LEGEND OF ALL PARTIES’ EXHIBITS FILED IN CONNECTION WITH
                  MOTIONS FOR SUMMARY JUDGEMENT

Description                         Bolingbrook Ex.    Joliet Ex.         Pl.’s Ex.
Frederickson Dep.                          A               B
Kloepfer Dep.                              B
Talbot Dep.                                C               C
Plaintiff’s February 9, 2011 SORA
registration form                          D          (See also L)
[RF00000609]
Plaintiff’s February 16, 2011
SORA registration form                     E          (See also O)
[RF00001629]
Teppel Dep.                               F
Landeros Dep.                             G                A
Avila Dep.                                H                F
Wlodarski Dep.                            I                D
Gunty Dep.                                J
Brick Dep.                                K
Coughlin Dep.                             L
Schmidt Dep.                              M
Scarpetta Dep.                                             E
Transcript of People v.
Frederickson, No. 11 CF 415 (Ill.
                                                           G
Cir. Ct. – Will Cty. (12th Cir.)
June 15, 2011)
Plaintiff’s January 26, 2011,
SORA registration form                                     H
[RF00000601]
Joliet Police Report (Nov. 13,
                                                           I
2010) [Joliet Bates No. 327]
Plaintiff’s Complaint                                      J
Plaintiff’s February 2, 2011 SORA
registration form                                          K
[RF00000603]
Plaintiff’s February 9, 2011
SORA registration form               (See also D)          L
[VOB.0030]
February 11, 2011 Intelligence
                                                          M
Bulletin
Email from E. Grizzle to T.
Landeros (Feb. 14, 2011)                                   N
[Joliet Bates No. 899]
Plaintiff’s February 16, 2011
SORA registration form                (See also E)         O
[Joliet Bates No. 897]


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Description                            Bolingbrook Ex.   Joliet Ex.       Pl.’s Ex.
Certified Copy of Conviction in
People v. Frederickson, No. 11 CF
                                                             P
415 (Ill. Cir. Ct. – Will Cty. (12th
Cir.)) [Joliet Bates No. 17]
Scarpetta Report re Frederickson
Complaint (Mar. 3, 2011) [Joliet                             Q
Bates No. 55]
Brown Dep.                                                                   A
Dunning-Ganczewski Dep.                                                      B
Musgrove Dep.                                                                C
Rodriguez Dep.                                                               D
Scacco Dep.                                                                  E
Docket of People v. Frederickson,
No. 01 CF 890 (Ill. Cir. Ct. – Will                                          F
Cty. (12th Cir.)) [RF00001448]
Docket of People v. Frederickson,
No. 08 CF 1134 (Ill. Cir. Ct. –
                                                                             G
Will Cty. (12th Cir.))
[RF00001474]
Scarpetta Report re Frederickson
                                                                             H
Complaint (Feb. 7, 2011)
J&J Autobody Application (Feb.
                                                                              I
8, 2011)
Email from C. Gunty to all-police
                                                                             J
(Feb. 11, 2011) [VOB.1771]
Frederickson Aff. (Feb. 22, 2011)                                            K
Walsh Aff. (Feb. 22, 2011)
                                                                             L
[VOB.0003]
Brown Aff. (Feb. 24, 2011)
                                                                             M
[VOB.0006]
Joliet Complaint Receipt Form
                                                                             N
(Mar. 3, 2011)
K. Teppel Memo to File (June 12,
                                                                             O
2015) [VOB.0266]
Expert Report of Michael
                                                                             P
Musgrove (Aug. 15, 2016)




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                              CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing PLAINTIFF’S 56.1
STATEMENT OF ADDITIONAL MATERIAL FACTS IN OPPOSITION TO (I)
DEFENDANTS DETECTIVE BRICK, DETECTIVE TALBOT AND THE VILLAGE OF
BOLINGBROOK’S AMENDED MOTION FOR SUMMARY JUDGMENT ON ALL
COUNTS OF THE THIRD AMENDED COMPLAINT AND (II) JOLIET DEFENDANTS’
MOTION FOR SUMMARY JUDGMENT with the Clerk of the Court using the CM/ECF
system on this 8th day of February 2017, which constitutes service on all counsel of record,
registered filing users, pursuant to Fed. R. Civ. P. 5(b)(2)(D) and L.R. 5.9.


                                                 /s/ Mary Rose Alexander
                                                 One of the Attorneys for Plaintiff




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